UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
______________________________________________________________________________

In Re: Alicerae Davis                                     Case No.

                  Debtor(s)                     Chapter 13
______________________________________________________________________________

                                        CHAPTER 13 PLAN

                              X
                             ____ Original            _____ Amended

This plan contains provisions that effect the rights of most or all creditors of the above debtor(s).
It also contains provisions regarding treatment of secured claims and priority claims that rely
upon the debtor’s interpretation of the recent amendments to 11 U.S.C. §1325, §1326 and other
Bankruptcy Code provisions. Some of these provisions may be subject to different interpretations
The failure of any creditor (secured or otherwise) whose rights are effected or impaired by this
plan to file written opposition to confirmation in accordance with the Interim Rules of
Bankruptcy Procedure and local rules of this court shall be deemed such creditor’s affirmative
acceptance of the plan.

       Pursuant to applicable provisions of 11 U.S.C. §1321, §1322 and §1325, the debtor(s)
propose(s) the following Chapter 13 plan of reorganization and repayment:

1.   Funding of the Plan and Determination of Minimum Distribution to Unsecured Creditors

       a.     1. The actual net monthly income of the debtor(s) is           2,755.00
                                                                          $___________

              2. The actual reasonable expenses of the debtor(s) are         2,095.00
                                                                          $___________

              3. The actual excess income available to fund the plan is      660.00
                                                                          $___________


       b.                                                                    19,860.00
              1. The annualized current monthly income of the debtor(s) is $__________

              2. The annualized current monthly income is:
                                          x below the state median income
                             ____ above _____

                                                      x
              3. The applicable commitment period is ____36 months _____ 60 months

              4. The projected disposable income of the debtor(s) is $___________

              5. The minimum amount to be paid to unsecured creditors (including creditors
              holding administrative or other priority unsecured claims) is $___________

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       c.                                                            x
             1. The debtor shall make ____ weekly ____ bi-weekly ____monthly   payments to the
                                                   612.00                 60
             Chapter 13 trustee in the amount of $_______for a period of ____ months.

             2. Payments shall be made by:

                              x direct payment from debtor(s)
                            ____
                            ____ wage order to employer of ____ debtor ____ spouse as follows:

                                   Employer name:
                                   Employer address:


             3. The debtor shall make the following additional payments to the Trustee:

                    Amount                 Date           Source of Payment



             4. The following special payment provisions shall apply (i.e. step up, seasonal, etc.):




2.     Payment of Administrative Priority Claims

       a.    The Chapter 13 Trustee’s compensation shall be 10% (or such other percentage as may
             be fixed by the Trustee) of the plan payments received from the debtor(s). The Chapter
             13 Trustee may be deduct such compensation from the plan payments on a weekly,
             monthly, or other periodic basis consistent with procedures established by the Trustee.

       b.                  3,400.00 shall be allowed to counsel for the debtor(s) for all services
             1. A fee of $__________
             rendered in connection with the Plan, except and otherwise allowed by local rule or
             allowed by the Bankruptcy Court

                                                                           300.00
             2. The amount received by counsel for the debtor to date is $___________

                                                                        3,100.00
             3. The balance of legal fees payable through the Plan is $__________

             4. Payment of legal fees to counsel for the debtor shall be made on a monthly basis
             from funds remaining after payment of trustee compensation, adequate protection
             payments, and equal monthly installments payments to creditors holding allowed
             secured claims against personal property. Legal fees shall be paid ahead of all claims for
             mortgage arrears, claims secured by real estate, and priority debts unless otherwise
             ordered by the Court.



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3.     Payment of Other Priority Claims

       a.    The debtor shall make full payment to the following priority claims

                    Creditor              Amount                 Interest Rate




       b.    The debtor shall make payment to priority claims allowed under 11 U.S.C.
             §507(a)(1)(B) in accordance with 11 U.S.C §1322(a)(4). Any amounts not paid on such
             shall survive the discharge of the debtor(s)

                    Creditor                      Amount


       c.    Payments on priority claims shall be made only after completion of payments on
             account of allowed administrative claims of the Chapter 13 trustee and counsel for the
             debtor, as well as payment of all allowed secured claims of any kind.


4.     Payment of Secured Claims

       a. General Provisions

             1.     The holder of each allowed secured claim provided for below shall retain the lien
                    securing such claim until the earlier of: (a) the payment of the underlying debt
                    determined under applicable non-bankruptcy law or (b) discharge under Section
                    1328

             2.     Notwithstanding the provisions contained in 11 U.S.C. §1325(a)(5)(B)(iii)(I), the
                    Chapter 13 Trustee shall not be required to make payments to holders of allowed
                    secured claims in fixed monthly installments. [Strict compliance with 11 U.S.C.
                    §1325(a)(5)(B)(iii)(I) might render the practical administration of the Plan
                    impossible. For example, if the debtor remits a partial plan payment in an
                    amount less than the “equal monthly installment” required by 11 U.S.C.
                    §1325(a)(5)(B)(iii)(I), then the Chapter 13 Trustee would be compelled to pay all
                    the funds received to the secured creditor and would not be able to pay allowed
                    administrative claims, including Chapter 13 Trustee commissions. Similarly, if
                    the debtor remits a larger-than-required monthly plan payment, the Trustee could
                    not make payment to the secured creditor in excess of the required “equal
                    monthly installment,” thus causing the secured claim to accrue additional interest
                    needlessly or perhaps requiring the excess funds to be paid to unsecured
                    creditors].


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       3.    For purposes of 11 U.S.C. §1325(a)(5)(B)(iii)(II), the holder of an allowed claim
             secured by personal property shall be conclusively deemed to be adequately
             protected throughout the term of the Plan so long as such creditor has received
             payment according to the following formula: total allowed secured claim
             divided by sixty multiplied by number of months elapsed since filing of the plan.
             However, this provision shall not effect the right of any party in interest to file a
             motion to dismiss the debtor’s case for non-payment.

       4.    Notwithstanding the provisions contained in 11 U.S.C. §1326(a)(1)(C) , the
             Trustee (not the debtor) shall make pre-confirmation adequate protection
             payments to holders of allowed claims secured by personal property.

       5.    Claims for mortgage arrears and other claims secured by real estate shall be paid
             to the extent practicable in equal monthly installments commencing in the month
             after legal fees to debtor’s counsel have been paid in full.

       6.    This plan shall constitute the debtor’s motion to approve payment of secured
             claims in the manner specified herein, including valuation of personal property,
             interest rate, and proposed monthly installments.

       7.    In the event a pre-confirmation claim for mortgage arrears is filed in an amount
             greater than specified in the Plan, the debtor(s) shall have the option of allowing
             confirmation to proceed by increasing plan payments or duration as needed to
             provide for full payment of the claim. However, confirmation of the Plan shall
             not prevent the debtor from filing an objection to claim subsequent to
             confirmation for any reason, including objections based on excessive legal fees
             or costs imposed by the lender, improperly calculated arrears of principal and
             interest, and improperly claimed escrow advances.




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  Real property claims

  b.     The following claims secured by real property that the debtor(s) intend(s) to retain shall
         be paid through the Plan:

         Creditor                 Amount      Interest Rate Value of Collateral    Monthly Payment
       City of Buffalo         $586.00         3.0%




  c.     The debtor(s) intend(s) to surrender the following real properties, and any claims
         secured against such properties shall be deemed fully satisfied unless the creditor files a
         separate deficiency claim after liquidation of the collateral in an amount that would be
         allowed under applicable non-bankruptcy law:

         Property                        Creditor              Amount owed




  d.     The debtor shall make the following direct monthly payments to holders of claims
         secured by real property (subject to change based upon escrow fluctuations):

         Creditor                        Amount                Duration
         Greentree                       $586.00               Entire Plan




  e.     The following arrears on secured claims shall be paid through the Plan:

         Creditor               Amount                 Interest Rate              Monthly Payment
        Greentree               $25,000.00              3.0%




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  Personal property claims

  f.    From plan payments received, the Trustee shall make the following monthly pre-
        confirmation adequate protection payments to holders of allowed claims secured by
        personal property:

        Creditor                      Amount                  Collateral



  g.    The following claims secured by personal property are not subject to bifurcation
        pursuant to 11 U.S.C. §506, and the allowed amount of such secured claims shall be
        paid in full (with interest rates that may or may not be equal to the contract rate of
        interest):

        Creditor                      Amount            Interest Rate        Monthly Payment



  h.    The following claims secured by personal property are not subject to bifurcation
        pursuant to 11 U.S.C. §506. However, the debtor proposes to pay the claim as
        follows and the creditor’s failure to file written opposition to confirmation in
        accordance with the Interim Rules of Bankruptcy Procedure and Local Rules of
        this court shall be deemed such creditor’s affirmative acceptance of the proposed
        treatment of its claim

        Creditor       Collateral     Balance   Secured Claim Unsecured Claim Interest Rate Monthly Payment




  i.    The following claims are secured by property of the debtor. The debtor shall surrender
        the collateral to the secured creditor.
        .
        .

        Creditor                      Amount                  Collateral



  j.    The following claims secured by personal property are subject to bifurcation pursuant to 11
        U.S.C. §506 for one or more of the following reasons [and the holder(s) of the claim(s) shall be
        entitled to an allowed secured claim up to the value of the collateral and an allowed general
        unsecured claim for any remaining balance]:




                                                  6

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                     ___     The debt that is the subject of the claim was incurred for a motor vehicle acquired
                             more than 910 days prior to the filing of the petition

                     ___     The debt that is the subject of the claim was incurred for other personal property
                             acquired more 365 days prior to the filing of the petition

                     ___     The claim is not a purchase money claim

                     ___     The motor vehicle or personal property was incurred for business use rather than
                             personal use

                     ___     The motor vehicle or personal property was incurred for the personal use of an
                             individual other than the debtor

              Creditor              Collateral        Amount Owed        Value   Interest Rate Monthly Payment




5.     Lien avoidance

       The following liens shall be avoided pursuant to 11 U.S.C. §522(f), 11 U.S.C. §1322(b)(2) and/or 11
       U.S.C. §506

              Creditor              Nature of Lien                 Amount of lien




6.     Payment of General Unsecured Creditors

       a.                                                                                       54,074.00
              The total amount of general unsecured claims (including undersecured claims) is $__________

       b.     Pursuant to the provisions contained in 11 U.S.C. §1325(b) and the calculations set forth in
              Paragraph 1 of this plan, the minimum total distribution to unsecured creditors is $________.
              After deduction of Chapter 13 Trustee compensation, legal fees to counsel for the debtor(s), and
              all other priority claims, the minimum distribution to general unsecured creditors is $ ________

       c.     Pursuant to 11 U.S.C. §1325(a)(4), the minimum total distribution to unsecured creditors is
              $________. After deduction of Chapter 13 Trustee compensation, legal fees to counsel for the
              debtor(s), and all other priority claims, the minimum distribution to general unsecured creditors is
              $_________


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       d.                                                                                       5
              The debtor(s) propose(s) to pay allowed general unsecured claims at the rate of _____ % on a
              pro-rata basis after payment of all other claims in the case.

       e.     The following unsecured claims shall be separately classified and paid in full:

              Creditor               Reason for Separate Classification            Amount




7.     Filing of Claims

       a.     Creditors properly listed in the bankruptcy petition must file a timely proof of claim to receive
              distribution under the Plan. Creditors that are not listed in the Petition [or that are defectively
              listed with incomplete or incorrect address information] shall be permitted to file a proof of claim
              within 90 days after such creditor’s receipt of actual notice of the bankruptcy filing.

       b.     Any secured creditor that does not file a timely proof of claim may [only with the consent of the
              debtor] file a late claim.

       c.     Any creditor holding a claim excepted from discharge pursuant to 11 U.S.C. §1328 may [with the
              consent of the debtor] file a late claim.

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              .

8.     Debtor’s Duties

       a.     Debtor is prohibited from transferring, encumbering, selling or otherwise disposing of any real or
              personal property with a value of $1,000 or more other than in the regular course of the debtor’s
              business affairs without court authorization. Except as provided by 11 U.S.C. §364 and §1304,
              the debtor shall not incur new debt aggregating more than $500 without court approval unless
              such debt relates to emergency medical care and prior court approval cannot reasonably be
              obtained.

       b.     Debtor shall maintain insurance as required by applicable law, contract or security agreement on
              all personal and real property.

       c.     Debtor shall comply with all applicable non-bankruptcy laws in the conduct of debtor’s affairs,
              including payment of domestic support obligation, conduct of business affairs, filing of required
              tax returns, and payment of taxes.


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9.      The executory contracts of the debtor(s) shall be treated as follows:

        Creditor                      Nature of Contract                    Disposition




10.     Revestment

        The debtor shall remain in possession of all property of the Estate during the pendency of this case unless
        otherwise indicated below. All property of the Estate shall vest in the debtor upon completion of the Plan
        or dismissal of the case.

11.    Other plan provisions




DATED: 11/22/2017                                             DATED:       12/27/2017




                /s/ Alicerae Davis
               ________________________                              /s/ Peter D. Grubea
                                                                    ________________________
               Debtor                                               Attorney for Debtor(s)


               ________________________
               Joint debtor




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